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                / l/onc2._u db1- CJl-4J.-&t              o*
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           6\), Q\ A-1IJT\~       i\.18._~ Af,.SC>l,__/,,;d    /J'-j lJ&:./t:A.d,4-,t,"/ lrf-lj
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_ _ __        __!V/77 gTic{_p;J ,4r1. 0_ ~ ti o20 {·l W /2 f tJ_PIA-1ll/77#
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              ~bi") I ,n.d ·V/f.             4J ll_J,C Lq8.3 C!o,r11PIA1,i.;;;- c/l;on
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- - --                _ LA.)~ ~ ·77./-f. cZ_A-5£:, ,.,
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    - _ ~:TJA-t,v--r--C-J:£= Jb l{o'°'Ld A-~l \Ht_ C.ol!-,c;-~ .0tLc.l€tLS ~
____ +-cit          e e'7loAJ:3 ,v ff/t_bfs,o-t_h1s ;::;b/lrr~rr~d..
              4/Jlrrt d fur.J ltd~t_ o.J. e uc l                        Mv.J.           I

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    -lf]_AltJ(f_d dtfr,tf'Yl hr(L ao~, du..db'l                                         ~<c__
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          iCol lt(.;;;iLo-.£ f\.f\w        O        W (1H-        t\.JO    obd~c.·-no,01    di.-
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           ou~L ~ Lf~ o..t wot--l. Wiv~ '/)qd (}?A<dh~
          I~) phoA.,'°t.'CA-1h I u...h £ iL'i:. G}) o..f. ~ ~"'1 'ZL t>iAifc;__ --m_
           ·Tlh:._112 cbUJ /J7 ,:;'-- /w A.) --ro C ht;:ct_ o ,v d U~dtr'i--77A..~                     a




    ?J1~ .A-M cit s .'.::>A-Tt~Jt rd t l\.J --rH'i. d11c f c-.:r,O,0 C!JfLis ~A.Cl
          ,,J??}LA V\l\Ut ~ 0 . lC. lo th~u<c <r-He <-i PrJ--t_ r11 ~s:s -
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  -       ji.S     j
           1,.,J-x _
               de..J,., vtn r11a.~f /:.,UJw/rc.tbA-/.JIE AA.Ci
                               c/t.s{!Lf.cl,r A puJv,ve,t_ i,,rT7-/f1/L
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- - ~15-r                  .                                                                   - -
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              t{l 1~d oJf; CtA{ ~ o                 Ad::£~--m-tt ~IS
              /1roHTy,
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            ;1IJ__, /5,-J-, lty JL /l lJ. ' i7Lt UI,Jo \ a -rt-(I ~c.. '17-kv
          1
           w, l ( {o_t_~ t _ wo~tkft.vl A--rro(lA)~. 4-r •rJ.1-/s
          f o, ,vr1 t 'L-1; LU, ,Ll::; Z.1,vc... 4-~ •1?-f~. f4--rm.0u. '<--~
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          d &fi A-Cl,~ /I.Sft.r          GoUJw £ I •

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